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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SHIKWANA JENNINGS, et al.,                            Case No. 15-cv-04080-KAW
                                   8                     Plaintiffs,
                                                                                              ORDER GRANTING MOTION FOR
                                   9              v.                                          SETTLEMENT APPROVAL
                                  10    OPEN DOOR MARKETING, LLC, et al.,                     Re: Dkt. No. 297
                                  11                     Defendants.

                                  12
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                                  13             Plaintiffs Shikwana Jennings and Lisa Drake filed this putative class and collective action

                                  14   against Defendants 20/20 Communications, Inc. ("20/20"), Open Door Marketing, LLC ("Open

                                  15   Door"), Larry Clark, and Jerrimy Farris, alleging violations of the Fair Labor Standards Act

                                  16   ("FLSA") and various California labor laws. (Fourth Amended Compl. ("FAC") ¶¶ 1-2, Dkt. No.

                                  17   195.) Pending before the Court is Plaintiffs' unopposed motion for settlement approval, which

                                  18   seeks to settle the claims of Plaintiffs and the 176 individuals who opted in to the collective action,

                                  19   as well as Plaintiff Jennings's representative claim for civil penalties under the Private Attorneys

                                  20   General Act ("PAGA"). (Plfs.' Mot. for Settlement Approval at 1, Dkt. No. 297; Plfs.' Supp. at 1,

                                  21   Dkt. No. 303.)

                                  22             Having considered the papers filed by the parties, the relevant legal authority, and the

                                  23   arguments advanced by counsel at the August 16, 2018 hearing, the Court GRANTS Plaintiffs'

                                  24   motion for settlement approval.

                                  25                                             I.   BACKGROUND
                                  26        A.      Factual Background
                                  27             Plaintiffs bring the present action on behalf of individuals who worked for Defendants "to

                                  28   promote free cell phones and wireless service plans for low-income individuals who meet the
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                                   1   plans' requirements." (FAC ¶ 1.) Plaintiffs allege that they were misclassified as independent

                                   2   contractors, resulting in Defendants failing to pay them minimum wage, overtime, expenses, and

                                   3   all wages due at the time of termination, as well as failing to provide itemized wage statements.

                                   4   (FAC ¶ 2.)

                                   5          Until October 2014, Defendant 20/20 contracted directly with individuals to promote

                                   6   wireless service plans and cellular phones as "Sales Representatives." (See FAC ¶ 17.) To

                                   7   become a Sales Representative, individuals were required to execute a Mutual Arbitration

                                   8   Agreement. (Dkt. No. 216 at 3.) Plaintiffs allege that Defendant 20/20 would set and monitor

                                   9   performance goals, as well as the hours and locations of work for Sales Representatives. (FAC ¶

                                  10   17a.) Defendant 20/20 also required Sales Representatives to send a picture of themselves at work

                                  11   each morning to prove their attendance at the required time, use a script when performing job

                                  12   duties, regularly attend meetings, attend pre-employment training, wear a uniform while working,
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                                  13   use company-provided tablets, and inform their supervisors how many customers they signed up

                                  14   each day. (FAC ¶ 17a.)

                                  15          In October 2014, Defendant 20/20 and the individual Defendants (collectively "Open Door

                                  16   Defendants") allegedly "jointly created [Open Door] as a 'spin off' company from 20/20." (FAC ¶

                                  17   18.) From that point on, Sales Representatives would contract directly with Defendant Open Door

                                  18   rather than Defendant 20/20. The relationship between the Open Door Defendants and the Sales

                                  19   Representatives was largely the same as the prior relationship between Defendant 20/20 and the

                                  20   Sales Representatives, in that the Open Door Defendants set and monitored performance goals, as

                                  21   well as hours and locations of work. (FAC ¶ 18a.) Like Defendant 20/20, the Open Door

                                  22   Defendants also required Sales Representatives to send a picture of themselves at work each

                                  23   morning to prove their attendance at the required time, use a script when performing job duties,

                                  24   regularly attend meetings, attend pre-employment training, wear a uniform while working, use

                                  25   company-provided tablets, and inform their supervisors how many customers they signed up each

                                  26   day. (FAC ¶ 18a.) During this time, Plaintiff alleges that Defendants were engaged in a joint

                                  27   employer relationship. (FAC ¶ 20.) In January 2016, Defendant Open Door began using an

                                  28   independent contractor agreement that included a mandatory arbitration provision.
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                                   1        B.        Procedural Background

                                   2             Plaintiffs filed this action on September 8, 2015. (Compl., Dkt. No. 1.) On June 21, 2016,

                                   3   the parties stipulated to the issuance of notice to all individuals who worked for Defendant Open

                                   4   Door "as independent contractors marketing free cell phones and wireless service plans to

                                   5   potential consumers face-to-face in Nevada and California from October 2014 to the present" who

                                   6   had not entered into an arbitration agreement with either Open Door or 2020. (Dkt. No. 104 at 2.)

                                   7             On February 24, 2017, Plaintiffs filed their motion to expand the scope of the collective

                                   8   action to include individuals who signed arbitration agreements with Defendants 2020 and Open

                                   9   Door. (Dkt. No. 139.) Defendants opposed the motion, arguing amongst other things that

                                  10   individuals who signed arbitration agreements were not similarly situated. (Dkt. No. 152 at 13.)

                                  11   On March 1, 2017, Defendant 20/20 filed its motion to deny class certification as to individuals

                                  12   who signed arbitration agreements with Defendants. (Dkt. No. 143.)
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                                  13             The Court granted in part and denied in part Defendant 20/20's motion to deny class

                                  14   certification, finding that the named Plaintiffs lacked typicality to represent individuals who had

                                  15   signed arbitration agreements with Defendant 20/20, when Plaintiffs themselves had not. (Dkt.

                                  16   No. 178 at 12.) The Court granted in part and denied in part Plaintiffs' motion to expand the scope

                                  17   of the collective action, finding that Plaintiffs satisfied the limited step one inquiry for conditional

                                  18   certification, but limiting the scope to individuals in California in order to ensure manageability.

                                  19   (Id. at 25.)

                                  20             Defendants then filed a motion to compel arbitration of certain opt-in Plaintiffs who had

                                  21   signed arbitration agreements with Defendant 20/20. (Dkt. No. 216 at 1.) Plaintiffs opposed the

                                  22   motion to compel on three grounds: (1) waiver, (2) the class action waiver violated the National

                                  23   Labor Relations Act per Ernst & Young LLP v. Morris, 834 F.3d 975 (9th Cir. 2016), and (3) the

                                  24   class action waiver was unenforceable per Gentry v. Superior Court, 42 Cal. 4th 443 (2007). (Dkt.

                                  25   No. 219 at 1-3.) On November 8, 2017, the Court concluded that Plaintiffs failed to establish

                                  26   waiver and that Gentry was no longer good law with respect to contracts that are subject to the

                                  27   Federal Arbitration Act ("FAA"). (Dkt. No. 235 at 7.) The Court, however, stayed Defendant

                                  28   20/20's motion to compel, pending the Supreme Court's review of Ernst & Young LLP. (Id. at 1.)
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                                   1          On June 13, 2018, Plaintiffs and Defendant 20/20 filed a notice of settlement. (Dkt. No.

                                   2   289.) After the parties confirmed that Plaintiffs intended to dismiss the claims against the Open

                                   3   Door Defendants, the Court terminated all pending deadlines and motions, including Defendant

                                   4   20/20's motion to compel, and ordered that the motion for settlement approval be filed by July 12,

                                   5   2018. (Dkt. No. 295 at 1.)

                                   6          On June 28, 2018, the parties filed a request that the Court clarify whether Plaintiffs were

                                   7   required to give formal notice to the opt-in Plaintiffs. (Dkt. No. 294 at 2.) On July 2, 2018, the

                                   8   Court issued an order stating that formal notice would not be required, but that Plaintiffs' counsel

                                   9   was to provide notice to the opt-in Plaintiffs stating that the case had settled and providing

                                  10   information on the hearing on the motion for approval. (Dkt. No. 296.)

                                  11          On July 12, 2018, Plaintiffs filed the instant unopposed motion for settlement approval.

                                  12   On July 31, 2018, the Court ordered Plaintiffs to provide supplemental briefing on the motion for
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                                  13   settlement approval. (Dkt. No. 302.) On August 8, 2018, Plaintiffs filed a supplemental brief.

                                  14          The Court held a hearing on Plaintiffs' motion for settlement approval on August 16, 2018.

                                  15          C.    Settlement Agreement
                                  16          Under the terms of the settlement agreement, Defendant 20/20 agrees to pay $125,000.

                                  17   (Liss-Riordan Decl., Exh. A ("Settlement Agreement") ¶ II.A, Dkt. No. 297-1.) Of this amount,

                                  18   Plaintiff's counsel intends to seek an award of $25,000, or 20% to cover both attorneys' fees and

                                  19   costs. (Settlement Agreement ¶ II.D.3.) The settlement amount includes a $5,000 enhancement

                                  20   payment to Plaintiff Jennings and a $3,000 enhancement payment to Plaintiff Drake. (Settlement

                                  21   Agreement ¶ II.D.2.) Finally, the settlement amount includes $10,000 in PAGA penalties; $7,500

                                  22   will go to the California Labor Workforce Development Agency ("LWDA") and $2,500 will be

                                  23   divided amongst California opt-in Plaintiffs, based on the number of weeks worked. (Settlement

                                  24   Agreement ¶ II.D.1.) This leaves a net amount of $82,000 for distribution to the opt-in Plaintiffs.

                                  25          The settlement will be allocated based on the number of weeks worked. (Settlement

                                  26   Agreement ¶ II.D.5.) Specifically, Plaintiffs' counsel will calculate the number of weeks each opt-

                                  27   in Plaintiff claims to have worked for Defendants in California and Nevada. Each week worked in

                                  28   Nevada shall count as one "share," and each week in California shall constitute two "shares."
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                                   1   (Settlement Agreement ¶ II.D.5.a.) The total number of shares will be calculated. (Settlement

                                   2   Agreement ¶ II.D.5.b.) The total shares of each individual opt-in Plaintiff shall then be divided by

                                   3   the total number of shares to determine the percent of the net settlement amount to which the

                                   4   individual is entitled. (Settlement Agreement ¶ II.D.5.c-d.)

                                   5          The opt-in Plaintiffs shall have 180 days to negotiate the checks. (Settlement Agreement ¶

                                   6   II.E.4.) Uncashed checks will be transferred to the California Department of Industrial Relations--

                                   7   Unclaimed Wage Fund for California opt-in Plaintiffs, and to the Nevada Unclaimed Property

                                   8   Division for Nevada opt-in Plaintiffs.

                                   9          After the hearing on Plaintiff's motion, the parties agreed to make certain changes to the

                                  10   Settlement Agreement.

                                  11          First, the parties agreed to modify the communications section. Originally, this section

                                  12   provided that the parties and counsel shall not have any communications regarding the settlement
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                                  13   with any person, subject to certain limited exceptions. (Settlement Agreement ¶ V.) The parties

                                  14   have limited the clause to act more as a non-publicity section, removing the prohibition on

                                  15   discussing the litigation or settlement with any person. (Dkt. No. 307.)

                                  16          Second, the parties have limited the scope of the released claims. The Settlement

                                  17   Agreement initially sought to release all claims pled in the operative complaint, as well as claims

                                  18   that could have been pled in the operative complaint "based on the factual allegations in that

                                  19   complaint, including but not limited to any claims under state or federal statutes or common law

                                  20   regarding the payment of wages, including claims arising under the [FLSA] . . . and any in similar

                                  21   state law." (Settlement Agreement ¶ III.A.) The parties have since "agreed to limit the scope of

                                  22   the release in their settlement agreement to the claims asserted in the operative complaint." (Dkt.

                                  23   No. 310 at 2.)

                                  24                                       II.   LEGAL STANDARD
                                  25          "The [FLSA] seeks to prohibit 'labor conditions detrimental to the maintenance of the

                                  26   minimum standard of living necessary for health, efficiency, and general well-being of workers.'"

                                  27   Kasten v. Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 11 (2011) (quoting 29 U.S.C. §

                                  28   202(a)).) Employees cannot waive their rights under the FLSA "because this would nullify the
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                                   1   purposes of the statute and thwart the legislative policies it was designed to effectuate."

                                   2   Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 740 (1981) (internal quotation

                                   3   omitted). "Thus, either the Secretary of Labor or a district court must approve the settlement for

                                   4   any FLSA claim." Gonzalez v. Fallanghina, LLC, Case No. 16-cv-1832-MEJ, 2017 WL 1374582,

                                   5   at *2 (N.D. Cal. Apr. 17, 2017); see also Slezak v. City of Palo Alto, Case No. 16-cv-3224-LHK,

                                   6   2017 WL 2688224, at *1 (N.D. Cal. June 22, 2017).

                                   7           "The Ninth Circuit has not established the criteria that a district court must consider in

                                   8   determining whether an FLSA settlement warrants approval." Otey v. Crowdflower, Inc., Case

                                   9   No. 12-cv-5524-JST, 2015 WL 6091741, at *4 (N.D. Cal. Oct. 16, 2015). Courts in this district

                                  10   typically evaluate the settlement under the standard established by the Eleventh Circuit's decision

                                  11   in Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982). E.g., id.; Gonzalez,

                                  12   2017 WL 1374582, at *2; Slezak, 2017 WL 2688224, at *2. Thus, the courts consider whether the
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                                  13   settlement agreement is "a fair and reasonable resolution of a bona fide dispute." Lynn's Food

                                  14   Stores, Inc., 679 F.2d at 1355. If the settlement is a reasonable compromise over issues actually in

                                  15   dispute, the court may approve the settlement "to promote the policy of encouraging settlement in

                                  16   litigation." Id. at 1354.

                                  17                                           III.   DISCUSSION
                                  18          A.     FLSA Settlement
                                  19                 i. Bona Fide Dispute
                                  20           "A bona fide dispute exists when there are legitimate questions about the existence and

                                  21   extent of the defendant's FLSA liability." Gonzalez, 2017 WL 1374582, at *2 (internal quotation

                                  22   and modification omitted). Here, the parties disputed whether Plaintiffs were independent

                                  23   contractors or employees. (Plf.'s Mot. for Settlement Approval at 13.) Even if Plaintiffs were

                                  24   employees, the parties also disputed whether the outside salesperson exception would apply,

                                  25   which would preclude recovery for the overtime and minimum wage claims under the FLSA and

                                  26   California labor law. (Id.) Additionally, the parties disputed whether Defendant 20/20 could be

                                  27   deemed the joint employer of Plaintiffs who contracted directly with Defendant Open Door. (Id.)

                                  28   Finally, the parties had a dispute regarding the applicable time period of Plaintiffs' claims and the
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                                   1   number of hours worked, which would affect Plaintiffs' recovery. (Id.) The Court concludes that

                                   2   a bona fide dispute exists as to Defendant 20/20's FLSA liability.

                                   3                  ii. Fair and Reasonable Resolution
                                   4             To determine whether a settlement is fair and reasonable, the courts consider the "totality

                                   5   of the circumstances and the purposes of [the] FLSA." Slezak, 2017 WL 2688224, at *3 (internal

                                   6   quotation omitted). Courts have considered the following factors:

                                   7                    (1) the plaintiff's range of possible recovery; (2) the stage of
                                                        proceedings and amount of discovery completed; (3) the seriousness
                                   8                    of the litigation risks faced by the parties; (4) the scope of any
                                                        release provision in the settlement agreement; (5) the experience and
                                   9                    views of counsel and the opinion of participating plaintiffs; and (6)
                                                        the possibility of fraud or collusion.
                                  10

                                  11   Id. (quoting Selk v. Pioneers Mem'l Healthcare Dist., 159 F. Supp. 3d 1164, 1173 (S.D. Cal.

                                  12   2016)).
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                                  13                      a. Range of Possible Recovery
                                  14             Plaintiffs estimate that the total damages the opt-in Plaintiffs would have been entitled to is

                                  15   $511,379.05. (Plfs.' Mot. for Settlement Approval at 3.) This amount was calculated based on the

                                  16   limited workweek data provided by Defendants, as well as self-reported data provided by the opt-

                                  17   ins. (Plfs.' Supp. Brief at 4.) The parties did not have the precise hours worked by individuals,

                                  18   and Plaintiffs assumed a standard workweek of 60 hours and applied the federal minimum wage to

                                  19   reach their calculation.

                                  20             At the hearing, Plaintiffs confirmed that this is the valuation for the FLSA claims only. As

                                  21   the Settlement Agreement seeks to release California state law claims as well, the actual full

                                  22   verdict value is significantly higher, given the broader range of California state claims and the

                                  23   higher California minimum wage. This affects the percentage of recovery that the settlement

                                  24   amount represents. As discussed below, however, the significant discount that the settlement

                                  25   represents compared to the full verdict value of the case is justified by the significant risks at issue,

                                  26   which could preclude all liability.

                                  27                      b. Stage of the Proceedings and Amount of Discovery Completed

                                  28             Under this factor, the Court considers "the stage of proceedings and the amount of
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                                   1   discovery completed to ensure the parties have an adequate appreciation of the merits of the case

                                   2   before reaching a settlement." Slezak, 2017 WL 2688224, at *4. "So long as the parties have

                                   3   sufficient information to make an informed decision about settlement, this factor will weigh in

                                   4   favor of approval." Linney v. Cellular Alaska P'ship, 151 F.3d 1234, 1239 (9th Cir. 1998)

                                   5   (internal quotation omitted).

                                   6             This case has been pending for nearly three years. Numerous motions have been filed and

                                   7   resolved, including motions to compel arbitration, motions to dismiss, a motion to expand the

                                   8   scope of the certified collective action, a motion to deny class certification, and a motion for

                                   9   judgment on the pleadings as to the PAGA claim. (Dkt. Nos. 49, 50, 51, 53, 54, 139, 143, 144,

                                  10   216.) The parties have also engaged in significant discovery, including the exchange of thousands

                                  11   of pages of documents. (Plf.'s Mot. for Settlement Approval at 17.) The parties also participated

                                  12   in a full-day mediation session in November 2016, prior to which Plaintiffs prepared a detailed
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                                  13   damages estimate. (Id.; see also Dkt. No. 126.)

                                  14             The Court concludes that the parties had sufficient information to make an informed

                                  15   decision about settlement, and that this factor therefore weighs in favor of approval.

                                  16                      c. Seriousness of Litigation Risks
                                  17             "This factor favors approving a settlement where there is a significant risk that litigation

                                  18   might result in a lesser recovery for the class or no recovery at all." Slezak, 2017 WL 2688224, at

                                  19   *4 (internal quotation and modification omitted). Here, Plaintiffs contend that the 75% discount is

                                  20   warranted because Plaintiffs faced a significant risk that the Court would conclude that even if

                                  21   Plaintiffs were misclassified as independent contractors, Plaintiffs would still be exempt from

                                  22   overtime and minimum wage requirements because they were outside salespeople. As discussed

                                  23   above, the discount is actually higher, as Plaintiffs do not consider the value of the California

                                  24   claims.

                                  25             Under federal law, an outside salesperson is exempt where the employee: (1) makes sales

                                  26   or "obtain[s] orders or contracts for services or for the use of facilities for which a consideration

                                  27   will be paid by the client or customer," and (2) is customarily and regularly engaged away from

                                  28   the employer's place of business. 29 C.F.R. § 541.500(a). Under California law, an employee is
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                                   1   considered an exempt outside salesperson if the person "customarily and regularly works more

                                   2   than half the time away from the employer's place of business selling tangible or intangible items

                                   3   or obtaining orders or contracts for products, services, or use of facilities." 8 C.C.R. §

                                   4   11040(2)(M).

                                   5          First, Plaintiffs point to Vasto v. Credico (USA) LLC, where the district court concluded

                                   6   that the plaintiffs -- who performed work similar to Plaintiffs in the instant case -- were outside

                                   7   salespeople. (Plf.'s Mot. for Settlement Approval at 15; Plf.'s Supp. Brief at 5. There, the

                                   8   plaintiffs were also field agents who signed up low-income customers for cell phones under a

                                   9   federal subsidy program. 15 Civ. 9298 (PAE), 2017 WL 4877424, at *1 (S.D.N.Y. Oct. 27, 2017).

                                  10   The plaintiffs used approved pitches and tablets provided by the defendant, and were paid on a

                                  11   commission basis for each qualified enrollee that they signed up. Id. at *3. The plaintiffs reported

                                  12   to work at the defendant's office each day, and participated in morning meetings to get guidance
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                                  13   on how to solicit enrollees. Id.

                                  14          The Vasto court found that the plaintiffs' primary duty was signing up applicants for the

                                  15   federal subsidy program, and that such activities constituted sales. 2017 WL 4877424, at *18.

                                  16   Although the field agents promoted a service that was ultimately provided free of charge to the

                                  17   qualifying applicants, the district court found that the cell phone company itself was compensated

                                  18   by the federal government for providing services to the qualified applicants. Id. Further, although

                                  19   the plaintiffs argued that they did not obtain a binding commitment from the potential applicant

                                  20   because the defendant could reject an applicant who was not eligible under the federal subsidy

                                  21   program, the district court explained that "[t]here is nothing in the FLSA . . . that limits the

                                  22   definition of an outside salesperson to someone who has the unfettered discretion to finalize a

                                  23   binding sale. Rather, it is enough for employees to have directed efforts toward the consummation

                                  24   of a sale." Id. (internal quotation and citations omitted). The Vasto court also found that the

                                  25   plaintiffs bore many of the indicia of outside salespeople, namely that they independently solicited

                                  26   new business in the form of applications for the subsidy program, received a commission-based

                                  27   salary, and worked away from the office with minimal supervision. Id. at *19.

                                  28          Second, Plaintiffs point to Dailey v. Just Energy Marketing Corp., in which the district
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                                   1   court found that the plaintiff whose primary job function was to solicit new customers for the

                                   2   defendant's services was an outside salesperson under California law. (Plf.'s Mot. for Settlement

                                   3   Approval at 15-16; Plf.'s Supp. Brief at 5.) There, the plaintiff reported to the regional office to

                                   4   attend morning meetings, where she would rehearse a 'pitch' with other door-to-door workers and

                                   5   share tips about how to persuade customers to sign up for services. Case No. 14-cv-2012-HSG,

                                   6   2015 WL 4498430, at *1 (N.D. Cal. July 23, 2015). The plaintiff was directed to target certain

                                   7   geographic area. Id. The plaintiff's supervisor would not accompany her in the field, but would

                                   8   stay in contact via telephone and text message. When the plaintiff persuaded a customer to sign

                                   9   up, the defendant would have ultimate authority to reject an application. Id. Compensation was

                                  10   based on the number of new customers signed up. Id.

                                  11           The district court concluded that the plaintiff was an outside salesperson. 2015 WL

                                  12   4498430, at *3. Like Vasto, the district court rejected the argument that the plaintiff did not sell
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                                  13   services because the customers' applications could be rejected. Instead, the district court found

                                  14   that the right to cancel a contract "does not change the fact that [the p]laintiff's job duties involved

                                  15   the 'selling' of or 'obtaining orders or contracts for [the defendant's] services." Id. (internal

                                  16   modification omitted). To find otherwise would be "to exalt form over substance. If an employee

                                  17   directs his efforts at persuading a particular customer to purchase a product and is compensated on

                                  18   the basis of his success in doing so then the employee is clearly engaged in sales activity and not

                                  19   mere general promotion of the product . . . ." Id. (internal quotation omitted). Additionally, the

                                  20   district court found that there were external indicia that the plaintiff was an outside salesperson,

                                  21   including that the plaintiff's compensation was in the form of commissions, the sole purpose of her

                                  22   job was to solicit new customers for the defendant, and that she was not directly supervised while

                                  23   in the field. Id. at *5.

                                  24           Here, Plaintiffs share many of the same characteristics as the employees in Vasto and

                                  25   Dailey, creating a significant risk that they too would be found to be outside salespersons. For

                                  26   example, Plaintiffs spent most of their days outside the office, attempting to sign up customers for

                                  27   subsidized cell phones. (Plf.'s Supp. Brief at 5.) Plaintiffs were assigned locations; although they

                                  28   would have to prove that they were at their location by taking a picture of themselves, it does not
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                                   1   appear that they were directly supervised. (Jennings Decl. ¶¶ 9, 11, Dkt. No. 21-4; Drake Decl. ¶¶

                                   2   11-12, Dkt. No. 21-5.) Plaintiffs were paid by commission, and would use a script or pitch.

                                   3   (Jennings Decl. ¶ 17; Drake Decl. ¶¶ 11, 19.) Plaintiffs were only paid if the customer was

                                   4   qualified for the subsidy program. (Jennings Decl. ¶ 17; Drake Decl. ¶ 19.) Given these

                                   5   similarities, Plaintiffs ran the risk that they would be found to be outside salespersons, which

                                   6   would result in Plaintiffs obtaining no monetary relief.

                                   7           Plaintiffs faced additional risks that could limit monetary relief. For example, Plaintiffs

                                   8   state that damages would be difficult to prove because Defendants did not maintain detailed

                                   9   information on the hours worked by Plaintiffs. (Plf.'s Supp. Brief at 17.) There was also a

                                  10   pending motion to compel arbitration that likely would have sent some of the opt-in Plaintiffs to

                                  11   arbitration, limiting their ability to litigate the case. (Id. at 14-15.) Further, there was the risk that

                                  12   the Court would not find Defendant 20/20 and the Open Door Defendants to be joint employers; in
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                                  13   such a case, Plaintiffs who were employed only by the Open Door Defendants might not be able to

                                  14   obtain any recovery because the Open Door Defendants have few monetary assets. (Id. at 15.)

                                  15           The Court finds that there was a significant risk that further litigation would lead to lower

                                  16   or likely even no recovery for Plaintiffs, particularly when other courts have found that individuals

                                  17   working similar jobs to Plaintiffs to be outside salespersons. This factor therefore weighs in favor

                                  18   of approval.

                                  19                     d. Scope of Release Provision and Communications about the Action
                                  20           Again, the Settlement Agreement originally sought to release all claims "which could have

                                  21   been pled in Plaintiffs' Fourth Amended Collective and Class Action Complaint . . . ." (Settlement

                                  22   Agreement ¶ III.A.) The Court raised concerns, however, that the proposed release was

                                  23   overbroad, explaining that courts in this district "'routinely reject FLSA settlements when the

                                  24   scope of the release goes beyond the overtime claims asserted in the complaint.'" (Dkt. No. 309 at

                                  25   1 (quoting Dunn v. Teachers Ins. & Annuity Ass'n of Am., Case No. 13-cv-5456-HSG, 2016 WL

                                  26   153266, at *5 (N.D. Cal. Jan. 13, 2016)).) The Court thus informed the parties that it would deny

                                  27   the instant motion if the parties did not limit the scope of the release to the claims asserted in the

                                  28   operative complaint. (Id. at 4.)
                                                                                           11
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                                   1          On September 12, 2018, the parties filed a notice stating that "they have agreed to limit the

                                   2   scope of the release in their settlement agreement to the claims asserted in the operative

                                   3   complaint," and attached an amended release that paralleled that in Selk. (Dkt. No. 310 at 2.)

                                   4   Notably, in Selk, the district court found that the release was adequate because "[a]t oral argument,

                                   5   counsel for [the defendant] represented to the court that the release requires waiver of only the

                                   6   wage and hour claims alleged, and not unrelated claims." 159 F. Supp. 3d at 1178 (emphasis

                                   7   added). Because the parties likewise state on the record that they have agreed to limit the release

                                   8   to claims asserted in the operative complaint, the Court finds that the scope of release is adequate,

                                   9   and favors approval of the settlement.

                                  10          Additionally, the Settlement Agreement's communication paragraph has been limited to act

                                  11   as a non-publicity provision that restricts the parties from publicizing the agreement, such as by

                                  12   issuing press releases or press statements. (Plf.'s Supp. Brief at 7.) The parties have modified the
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                                  13   language accordingly. (See Dkt. No. 307 at 2.) Thus, the parties have addressed the Court's

                                  14   concern that the Settlement Agreement's language was so broad that it would prevent an opt-in

                                  15   Plaintiff from discussing the settlement in private conversations.

                                  16                    e. Experience and Views of Counsel and Participating Plaintiffs
                                  17          "In determining whether a settlement is fair and reasonable, the opinions of counsel should

                                  18   be given considerable weight both because of counsel's familiarity with the litigation and previous

                                  19   experience with cases." Slezak, 2017 WL 2688224, at *5. Plaintiff's counsel, Attorney Shannon

                                  20   Liss-Riordan, opines that the settlement is fair, reasonable, and adequate, taking into account the

                                  21   risks faced by Plaintiffs. (Liss-Riordan Decl. ¶¶ 3-5.) Attorney Liss-Riordan has practiced wage

                                  22   and hour actions, with an emphasis on independent contractor misclassification, for five years.

                                  23   (Liss-Riordan Decl. ¶ 2.)

                                  24          Additionally, Plaintiffs distributed notice to the opt-in Plaintiffs, describing the basic terms

                                  25   of the settlement agreement and estimated recovery. (Liss-Riordan Decl. ¶ 6, Exh. B.) As of the

                                  26   date of this order, no objections have been filed with the Court, and Plaintiffs confirmed that they

                                  27   received no objections at the hearing. The Court therefore concludes that this factor weighs in

                                  28   favor of approval.
                                                                                        12
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                                                           f. Possibility of Fraud or Collusion
                                   1
                                              The Court finds that there does not appear to be any signs of collusion. In In re Bluetooth
                                   2
                                       Headset Products Liability Litigation, the Ninth Circuit explained that signs of collusion in a class
                                   3
                                       action include:
                                   4
                                                         (1) when counsel receives a disproportionate distribution of the
                                   5                     settlement, or when the class receives no monetary distribution but
                                                         class counsel are amply rewarded [citations]; (2) when the plaintiffs
                                   6                     negotiate a 'clear sailing' agreement providing for the payment of
                                                         attorney's fees separate and apart from class funds . . . [citations];
                                   7                     and (3) when the parties arrange for fees not awarded to revert to
                                                         defendants rather than be added to the class fund [citations].
                                   8
                                       654 F.3d 935, 947 (9th Cir. 2011).
                                   9
                                              Here, none of these signs are present. Plaintiffs' counsel is receiving 20% of the settlement
                                  10
                                       amount as attorney's fees and costs, an amount which is lower than Plaintiffs' costs. There is also
                                  11
                                       no "clear sailing" provision, nor will unclaimed funds revert to Defendant 20/20. The Court
                                  12
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                                       concludes that this factor weighs in favor of approval.
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                                  13
                                                   iii. Attorney's Fees
                                  14
                                              "Where a proposed settlement of FLSA claims includes the payment of attorney's fees, the
                                  15
                                       court must also assess the reasonableness of the fee award." Selk, 159 F. Supp. 3d at 1180; see
                                  16
                                       also 29 U.S.C. § 216(b). Here, Plaintiffs' counsel seeks 20% of the total settlement amount, or
                                  17
                                       $25,000. This amount only partially covers the amount of expenses Plaintiffs' counsel has
                                  18
                                       incurred. (Liss-Riordan Decl. ¶ 8.) Plaintiffs' counsel does not explain what their lodestar would
                                  19
                                       be, beyond stating that more than 600 hours have been spent prosecuting the case; nevertheless;
                                  20
                                       given that the attorney's fees sought does not cover the expenses incurred, and that this case has
                                  21
                                       involved litigating numerous motions, it is clear that the amount sought is significantly less than
                                  22
                                       the amount that would be awarded under the lodestar method. The Court approves of the
                                  23
                                       attorney's fees provision.
                                  24
                                                   iv. Enhancement Awards
                                  25
                                              The Settlement Agreement also provides for enhancement awards for the named Plaintiffs,
                                  26
                                       specifically $5,000 for Plaintiff Jennings and $3,000 for Plaintiff Drake. "[A] district court may
                                  27
                                       award an [enhancement] payment to the named plaintiffs in a FLSA collective action to
                                  28
                                                                                           13
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                                   1   compensate them for work done on behalf of the class." Selk, 159 F. Supp. 3d at 1181. In

                                   2   determining whether an enhancement award is warranted, "the court should consider . . . the

                                   3   actions the plaintiff has taken to protect the interests of the class, the degree to which the class has

                                   4   benefited from those actions, and the amount of time and effort the plaintiff expended in pursuing

                                   5   the litigation." Id. (internal quotation omitted).

                                   6          At the hearing, Plaintiffs' counsel explained that the named Plaintiffs participated actively

                                   7   in this case, including initiating the case, providing statements, cooperating with discovery, and

                                   8   providing information to help litigate the case. Without the named Plaintiffs, the opt-in Plaintiffs

                                   9   would likely have received no recovery, especially in light of the significant risks in this case. The

                                  10   Court also notes that in class action settlements, courts in this district have found "that, as a

                                  11   general matter, $5,000 is a reasonable amount" for an enhancement award. Harris v. Vector Mktg.

                                  12   Corp., Case No. 08-cv-5198-EMC, 2012 WL 381202, at *7 (N.D. Cal. Feb. 6, 2012). The Court
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                                  13   finds that the requested enhancement awards are appropriate, and approves the enhancement

                                  14   awards provision.

                                  15          B.    PAGA Settlement
                                  16          Under PAGA, "court[s] shall review and approve any settlement of any civil action filed

                                  17   pursuant to [PAGA]." Cal. Labor Code § 2699(l)(2). A plaintiff who brings a PAGA claim "does

                                  18   so as the proxy or agent of the state's labor law enforcement agencies." Arias v. Superior Court,

                                  19   46 Cal. 4th 969, 986 (2009). "Such a plaintiff also owes responsibility to the public at large; they

                                  20   act, as the statute's names suggests, as a private attorney general, and 75% of the penalties go to

                                  21   the LWDA for 'enforcement of labor laws . . . and for education of employers and employees

                                  22   about their rights and responsibilities under this code.'" O'Connor v. Uber Techs., Inc., 201 F.

                                  23   Supp. 3d 1110, 1134 (N.D. Cal. 2016).

                                  24            Here, the parties allocate $10,000 to the PAGA claim, or .6% of its total estimated value

                                  25   of $1.4 million. (Plf.'s Mot. for Settlement Approval at 21.) In this district, courts have raised

                                  26   concerns about settlements of less than 1% of the total value of a PAGA claim. See Viceral v.

                                  27   Mistras Grp., Inc., Case No. 15-cv-2198-EMC, 2016 WL 5907869, at *9 (N.D. Cal. Oct. 11,

                                  28   2016). Plaintiffs submitted the settlement agreement to the LWDA, and the LWDA has not
                                                                                            14
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                                   1   objected to the settlement. (Plfs.' Supp. Brief at 8.)

                                   2           For the reasons discussed above as to the risks of no recovery, particularly the Dailey

                                   3   decision, the Court finds that the PAGA settlement is adequate, despite the significant discount

                                   4   that the settlement represents.

                                   5          C.       Rule 23 Notice
                                   6           "Federal Rule of Civil Procedure 23(e) requires courts to approve the proposed voluntary

                                   7   dismissal of class claims. Courts generally apply the same Rule 23(e) standard to FLSA collective

                                   8   action settlements." Gonzalez, 2017 WL 1374582, at *4 (internal quotation and modification

                                   9   omitted). This applies to pre-certification classes as well. Diaz v. Tr. Territory of Pac. Islands,

                                  10   876 F.2d 1401, 1408 (9th Cir. 1989); see also Lyons v. Bank of Am., NA, Case No. 11-cv-1232-

                                  11   CW, 2012 WL 5940846, at *1 n.1 ("Courts in this district have expressed some uncertainty about

                                  12   whether Rule 23(e) still applies to pre-certification settlement proposals in the wake of the 2003
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                                  13   amendments to the rule but have generally assumed that it does"). Thus, where parties seek to

                                  14   voluntarily dismiss class claims, the court must inquire into possible prejudice from:

                                  15                    (1) class members' possible reliance on the filing of the action if
                                                        they are likely to know of it either because of publicity or other
                                  16                    circumstances, (2) lack of adequate time for class members to file
                                                        other actions, because of a rapidly approaching statute of limitations,
                                  17                    (3) any settlement or concession of class interests made by the class
                                                        representative or counsel in order to further their own interests.
                                  18
                                  19   Diaz, 876 F.2d at 1408.

                                  20           The Court finds that after applying these factors, there is no prejudice to the class members

                                  21   from the dismissal of the class claims without prejudice. First, there is nothing in the record to

                                  22   suggest that putative class members were aware of the class action. While putative class members

                                  23   were given notice of the FLSA collective action, the notice did not mention the class action. The

                                  24   case also did not receive publicity or media coverage, and Plaintiffs' counsel states that they did

                                  25   not receive inquiries about the Rule 23 claims from absent putative class members. (Plfs.' Supp.

                                  26   Brief at 10.)

                                  27           Second, there does not seem to be a lack of adequate time for class members to file their

                                  28   own actions. The FLSA generally has a two-year statute of limitations, which is extended to three
                                                                                          15
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                                   1   years if the violation is "willful." Gonzalez, 2017 WL 1374582, at *5. Plaintiffs explain that the

                                   2   case was filed in September 2015, and that most of the plaintiffs worked for the company in 2014

                                   3   and 2015, fairly close to the time of the filing, such that there is little risk of the absent class

                                   4   members' claims being barred by the statute of limitations. (Id.) This is particularly the case

                                   5   where "the commencement of a class action suspends the applicable statute of limitations as to all

                                   6   asserted members of the class who would have been parties had the suit been permitted to continue

                                   7   as a class action." Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 554 (1974).

                                   8           Finally, it does not appear that Plaintiffs sought to settle the case to further their own

                                   9   interests. As discussed above, there is no evidence in the record of fraud or collusion between the

                                  10   parties in settling the case.

                                  11           Therefore, the Court approves of the dismissal of the class claims without prejudice.

                                  12                                           IV.     CONCLUSION
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                                  13           For the reasons stated above, the Court GRANTS the motion for settlement approval, as

                                  14   modified by the parties. (See Dkt. Nos. 307, 310.)

                                  15           Within 60 days of the date of this order, Plaintiffs shall file either a stipulation of dismissal

                                  16   of the entire case or a status report regarding the execution of the Settlement Agreement.

                                  17           IT IS SO ORDERED.

                                  18   Dated: October 3, 2018
                                                                                                __________________________________
                                  19                                                            KANDIS A. WESTMORE
                                  20                                                            United States Magistrate Judge

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